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                        UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF GEORGIA
                                 MACON DIVISION

 IN RE:                                        )      CHAPTER 7
 HOWARD PENA,                                  )
 ISLED PENA,                                   )      CASE NO. 24-50893-RMM
                                               )
           Debtors.                            )

             AMENDMENT TO SCHEDULES, SUMMARY OF SCHEDULES,
                       AND STATISTICAL SUMMARY

        COME NOW, Howard Pena and Isled Pena, Debtors, by and through the attorney of
record, and file this Amendment To Schedules, Summary Of Schedules, And Statistical
Summary, and show the Court the following:

      1.      Amended Schedule E/F – to correct IRS debt;
      2.      Amended Schedule J - to correct the expense figures;
      3.      Amended Form 122A Statement of Current Monthly Income/Means Test;
      4.      Amended Summary of Schedules; and,
      5.      Amended Statistical Summary.

      This 23rd day of July , 2024.

                                           Respectfully Submitted by,
                                           BURROW & ASSOCIATES, LLC

                                           /s/ Michael F. Burrow
                                           Michael F. Burrow
                                           Attorney for the Debtors
                                           Georgia Bar No. 317998
                                           2280 Satellite Blvd.
                                           Bldg. A, Suite 100
                                           Duluth, Georgia 30097
                                           (678) 942-8640
                                           bankruptcy@legalatlanta.com
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Fill in this information to identify your case:

Debtor 1                     Howard Pena
                             First Name                     Middle Name                       Last Name

Debtor 2                     Isled Pena
(Spouse if, filing)          First Name                     Middle Name                       Last Name

United States Bankruptcy Court for the:                MIDDLE DISTRICT OF GEORGIA

Case number           24-50893
(if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and case
number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
      1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim           Priority            Nonpriority
                                                                                                                                             amount              amount
2.1          Georgia Department of Revenue                        Last 4 digits of account number                                    $0.00              $0.00                  $0.00
             Priority Creditor's Name
             Compliance Division                                  When was the debt incurred?
             ARCS Bankruptcy
             1800 Century Blvd. NE, Suite 9100
             Atlanta, GA 30345-3202
             Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                              Contingent
             Debtor 1 only                                            Unliquidated
             Debtor 2 only                                            Disputed
             Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

             At least one of the debtors and another                  Domestic support obligations

             Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                Claims for death or personal injury while you were intoxicated
             No                                                       Other. Specify
             Yes                                                                        Notice Only




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Debtor 2 Isled Pena                                                                                     Case number (if known)             24-50893

2.2        Internal Revenue Service                              Last 4 digits of account number                          $7,727.00              $7,727.00                   $0.00
           Priority Creditor's Name
           P.O. Box 7346                                         When was the debt incurred?
           Philadelphia, PA 19101-7346
           Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                            Contingent
           Debtor 1 only                                            Unliquidated
           Debtor 2 only                                            Disputed
           Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

           At least one of the debtors and another                  Domestic support obligations

           Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                              Claims for death or personal injury while you were intoxicated
           No                                                       Other. Specify
           Yes                                                                         2019, 2020


Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured
      claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one
      creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.
                                                                                                                                                          Total claim

4.1        Ally Financial, Inc                                      Last 4 digits of account number                                                                   $3,188.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                         When was the debt incurred?
           500 Woodard Ave
           Detroit, MI 48226
           Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                       Contingent
                Debtor 1 only
                                                                       Unliquidated
                Debtor 2 only
                                                                       Disputed
                Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
                At least one of the debtors and another                Student loans
                Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                          report as priority claims

                No                                                     Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                    Other. Specify    Account




Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 2 of 10
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Debtor 2 Isled Pena                                                                                  Case number (if known)             24-50893

4.2       Amazon                                                 Last 4 digits of account number                                                          $4,798.00
          Nonpriority Creditor's Name
          202 Westlake Avenue                                    When was the debt incurred?
          Seattle, WA 98109
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Account


4.3       Capital One                                            Last 4 digits of account number       2505                                               $2,006.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 03/23 Last Active
          Po Box 30285                                           When was the debt incurred?           02/24
          Salt Lake City, UT 84130
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.4       Cardinal Financial Company                             Last 4 digits of account number                                                         $10,597.29
          Nonpriority Creditor's Name
          1 Corporate Drive                                      When was the debt incurred?
          Suite 360
          Milledgeville, GA 31061
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Collections




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Debtor 2 Isled Pena                                                                                  Case number (if known)             24-50893

4.5       Chase Card Services                                    Last 4 digits of account number       8822                                               $4,799.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 06/22 Last Active
          P.O. 15298                                             When was the debt incurred?           2/14/24
          Wilmington, DE 19850
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.6       Coliseum Northside Hospital                            Last 4 digits of account number                                                           $791.25
          Nonpriority Creditor's Name
          400 Charter Blvd                                       When was the debt incurred?           7/2023
          Macon, GA 31210
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify


4.7       Concora Credit / Destiny Card                          Last 4 digits of account number                                                           $880.10
          Nonpriority Creditor's Name
          P. O. Box 23030                                        When was the debt incurred?
          Columbus, GA 31902-3030
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify




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Debtor 2 Isled Pena                                                                                  Case number (if known)             24-50893

4.8       Credit One Bank                                        Last 4 digits of account number       1243                                               $1,197.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                  Opened 01/22 Last Active
          6801 Cimarron Rd                                       When was the debt incurred?           02/24
          Las Vegas, NV 89113
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.9       Credit One Bank                                        Last 4 digits of account number       2578                                               $1,133.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                  Opened 04/19 Last Active
          6801 Cimarron Rd                                       When was the debt incurred?           1/28/24
          Las Vegas, NV 89113
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.10      Credit One Bank                                        Last 4 digits of account number       0319                                                $816.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                  Opened 05/23 Last Active
          6801 Cimarron Rd                                       When was the debt incurred?           02/24
          Las Vegas, NV 89113
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card




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Debtor 2 Isled Pena                                                                                  Case number (if known)             24-50893

4.11      Credit One Bank                                        Last 4 digits of account number       8021                                                $796.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                  Opened 10/22 Last Active
          6801 Cimarron Rd                                       When was the debt incurred?           2/01/24
          Las Vegas, NV 89113
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.12      Credit One Bank                                        Last 4 digits of account number       3612                                                $636.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                  Opened 02/21 Last Active
          6801 Cimarron Rd                                       When was the debt incurred?           02/24
          Las Vegas, NV 89113
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.13      Genesis FS Card Services                               Last 4 digits of account number       4671                                                $981.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 01/22 Last Active
          Po Box 4477                                            When was the debt incurred?           2/05/24
          Beaverton, OR 97076
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card




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4.14      George Martinez MD                                     Last 4 digits of account number       7274                                                $236.70
          Nonpriority Creditor's Name
          PO Box 1415                                            When was the debt incurred?
          Milledgeville, GA 31059
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical


4.15      Jefferson Capital Systems, LLC                         Last 4 digits of account number       0003                                               $1,776.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 12/14/22 Last Active
          200 14th Ave E                                         When was the debt incurred?           02/20
          Sartell, MN 56377
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

                                                                                     Factoring Company Account Verizon
             Yes                                                    Other. Specify   Wireless

4.16      LendingPoint LLC.                                      Last 4 digits of account number       2752                                               $2,745.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 02/22 Last Active
          1201 Roberts Blvd Suite 200                            When was the debt incurred?           10/19/23
          Kennesaw, GA 30144
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Unsecured




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4.17      MIDFLORIDA Credit Union                                Last 4 digits of account number       0325                                              $10,094.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 06/21 Last Active
          Po Box 8008                                            When was the debt incurred?           02/24
          Lakeland, FL 33802
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.18      Midland Credit Management                              Last 4 digits of account number                                                           $853.96
          Nonpriority Creditor's Name
          AAO Comenity Bank                                      When was the debt incurred?
          350 Camino de la Reina
          Suite 300
          Atlanta, GA 30308
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify


4.19      Northside Hospital                                     Last 4 digits of account number       9284                                               $1,055.00
          Nonpriority Creditor's Name
          1000 Johnson Ferry Rd                                  When was the debt incurred?
          Atlanta, GA 30342
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical




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4.20      Redfin Corporation                                     Last 4 digits of account number       0254                                               $5,906.25
          Nonpriority Creditor's Name
          Attention: Partner Program                             When was the debt incurred?           12/2021
          1099 Stewart Street, Suite 600
          Seattle, WA 98101
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify


4.21      Synchrony Bank/Care Credit                             Last 4 digits of account number       0635                                                $598.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 04/21 Last Active
          Po Box 965060                                          When was the debt incurred?           02/24
          Orlando, FL 32896
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Charge Account


4.22      Synchrony Bank/TJX                                     Last 4 digits of account number       3384                                                $960.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 01/23 Last Active
          Po Box 965060                                          When was the debt incurred?           1/19/24
          Orlando, FL 32896
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 9 of 10
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Debtor 1 Howard Pena
Debtor 2 Isled Pena                                                                                      Case number (if known)              24-50893

4.23      Utility Selfreported                                      Last 4 digits of account number         47B3                                                   $66.00
          Nonpriority Creditor's Name
          Po Box 4500                                               When was the debt incurred?             Last Active 6/12/23
          Allen, TX 75013
          Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                         Contingent
             Debtor 1 only
                                                                         Unliquidated
             Debtor 2 only
                                                                         Disputed
             Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                     Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

             No                                                          Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                         Other. Specify   Agriculture Chkg/Baldwincountywater

Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is
   trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have
   more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for
   any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Aldridge Pite Hann, LLP                                       Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Sana A. Cheema                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
P. O. Box 7389
Marietta, GA 30065
                                                              Last 4 digits of account number

Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
McCarthy, Burgess & Wolff                                     Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
26000 Cannon Road                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
Cleveland, OH 44146
                                                              Last 4 digits of account number                      0254

Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each type
   of unsecured claim.

                                                                                                                                  Total Claim
                        6a.   Domestic support obligations                                                   6a.       $                          0.00
Total claims
from Part 1             6b.   Taxes and certain other debts you owe the government                           6b.       $                       7,727.00
                        6c.   Claims for death or personal injury while you were intoxicated                 6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.        6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                       6e.       $                       7,727.00

                                                                                                                                  Total Claim
                        6f.   Student loans                                                                  6f.       $                          0.00
Total claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that you
                              did not report as priority claims                                              6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts              6h.       $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount here. 6i.           $                     56,909.55

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                    6j.       $                     56,909.55




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 10 of 10
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Fill in this information to identify your case:

Debtor 1                 Howard Pena                                                                        Check if this is:
                                                                                                                An amended filing
Debtor 2                 Isled Pena                                                                                  A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF GEORGIA                                                 MM / DD / YYYY

Case number           24-50893
(If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                                                                                      Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             2,453.06

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.   $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                            115.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1
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Debtor 1     Howard Pena
Debtor 2     Isled Pena                                                                                 Case number (if known)       24-50893

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                                                    325.00
      6b. Water, sewer, garbage collection                                                  6b. $                                                     90.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                    275.00
      6d. Other. Specify:                                                                   6d. $                                                      0.00
7.    Food and housekeeping supplies                                                          7. $                                                   775.00
8.    Childcare and children’s education costs                                                8. $                                                     0.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                                                   201.00
10.   Personal care products and services                                                   10. $                                                    215.00
11.   Medical and dental expenses                                                           11. $                                                    120.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                    550.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                      0.00
14.   Charitable contributions and religious donations                                      14. $                                                      0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                      0.00
      15b. Health insurance                                                                15b. $                                                      0.00
      15c. Vehicle insurance                                                               15c. $                                                    190.00
      15d. Other insurance. Specify:                                                       15d. $                                                      0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                              16. $                                                       0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                    669.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                      0.00
      17c. Other. Specify: Sheffield Financial                                             17c. $                                                    306.00
      17d. Other. Specify:                                                                 17d. $                                                      0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).       18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                      0.00
      20b. Real estate taxes                                                               20b. $                                                      0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                      0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                      0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                      0.00
21.   Other: Specify:    IRS                                                                21. +$                                                   477.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                       6,761.06
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                       6,761.06
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               6,182.00
    23b. Copy your monthly expenses from line 22c above.                                                     23b. -$                              6,761.06

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                                 -579.06

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                   Schedule J: Your Expenses                                                                    page 2
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Fill in this information to identify your case:

Debtor 1                  Howard Pena
                          First Name                           Middle Name                         Last Name

Debtor 2                  Isled Pena
(Spouse if, filing)       First Name                           Middle Name                         Last Name

United States Bankruptcy Court for the:                 MIDDLE DISTRICT OF GEORGIA

Case number           24-50893
(if known)
                                                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             408,550.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              72,467.00

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             481,017.00

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             509,611.69

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $               7,727.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              56,909.55


                                                                                                                                 Your total liabilities $                  574,248.24


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $               6,182.00

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $               6,761.06

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
               the court with your other schedules.

Official Form 106Sum                   Summary of Your Assets and Liabilities and Certain Statistical Information                                                     page 1 of 2
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Debtor 1   Howard Pena
Debtor 2   Isled Pena                                                                  Case number (if known) 24-50893

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                              $                     7,426.72


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              7,727.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

     9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $                  0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


     9g. Total. Add lines 9a through 9f.                                                           $                 7,727.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
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Fill in this information to identify your case:                                                      Check one box only as directed in this form and in Form
                                                                                                     122A-1Supp:
Debtor 1              Howard Pena
Debtor 2              Isled Pena                                                                             1. There is no presumption of abuse
(Spouse, if filing)
                                                                                                             2. The calculation to determine if a presumption of abuse
United States Bankruptcy Court for the:         Middle District of Georgia
                                                                                                                applies will be made under Chapter 7 Means Test
                                                                                                                Calculation (Official Form 122A-2).
Case number           24-50893
(if known)                                                                                                   3. The Means Test does not apply now because of
                                                                                                                 qualified military service but it could apply later.

                                                                                                             Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                      12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

Part 1:          Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
             Married and your spouse is NOT filing with you. You and your spouse are:
                Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
   6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own
   the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A                   Column B
                                                                                                         Debtor 1                   Debtor 2 or
                                                                                                                                    non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before
     all payroll deductions).                                                           $                           4,746.57        $              0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                0.00       $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                0.00       $              0.00
  5. Net income from operating a business, profession, or farm
                                                  Debtor 1            Debtor 2
     Gross receipts (before all
     deductions)                      $                0.00 $        3,630.15
     Ordinary and necessary
     operating expenses              -$                0.00 -$          950.00
     Net monthly income from a                                                  Copy
     business, profession, or farm    $                0.00 $        2,680.15 here -> $                                  0.00       $         2,680.15
  6. Net income from rental and other real property
                                                                                  Debtor 1
       Gross receipts (before all deductions)                           $       0.00
       Ordinary and necessary operating expenses                        -$      0.00
       Net monthly income from rental or other real property            $       0.00 Copy here -> $                      0.00       $              0.00
                                                                                                         $               0.00       $              0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                 Chapter 7 Statement of Your Current Monthly Income                                                            page 1
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Debtor 1     Howard Pena
Debtor 2     Isled Pena                                                                             Case number (if known)    24-50893


                                                                                                Column A                      Column B
                                                                                                Debtor 1                      Debtor 2 or
                                                                                                                              non-filing spouse
  8. Unemployment compensation                                                                  $                  0.00       $           0.00
      Do not enter the amount if you contend that the amount received was a benefit
      under the Social Security Act. Instead, list it here:
        For you                                             $                 0.00
           For your spouse                                     $                   0.00
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence,
      do not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any
      retired pay paid under chapter 61 of title 10, then include that pay only to the extent
      that it does not exceed the amount of retired pay to which you would otherwise be
      entitled if retired under any provision of title 10 other than chapter 61 of that title. $                   0.00       $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation pension, pay, annuity, or allowance paid by
      the United States Government in connection with a disability, combat-related injury
      or disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below..
              .                                                                                $                   0.00       $           0.00
                                                                                                $                  0.00       $           0.00
                Total amounts from separate pages, if any.                                 +    $                  0.00       $           0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.          $       4,746.57          +$          2,680.15     =$       7,426.72

                                                                                                                                           Total current monthly
                                                                                                                                           income

Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
      12a. Copy your total current monthly income from line 11                                            Copy line 11 here=>             $        7,426.72

             Multiply by 12 (the number of months in a year)                                                                                   x 12
      12b. The result is your annual income for this part of the form                                                               12b. $        89,120.64

  13. Calculate the median family income that applies to you. Follow these steps:

      Fill in the state in which you live.                              GA

      Fill in the number of people in your household.                    2
      Fill in the median family income for your state and size of household.                                                        13.   $       79,803.00
      To find a list of applicable median income amounts, go online using the link specified in the separate instructions
      for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
      14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                    Go to Part 3. Do NOT fill out or file Official Form 122A-2.
      14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A–2.
Part 3:        Sign Below
             By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

            X /s/ Howard Pena                                                    X /s/ Isled Pena
               Howard Pena                                                           Isled Pena

Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                     page 2
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Debtor 1    Howard Pena
Debtor 2    Isled Pena                                                                             Case number (if known)   24-50893

              Signature of Debtor 1                                                     Signature of Debtor 2
       Date July 23, 2024                                                       Date July 23, 2024
            MM / DD / YYYY                                                           MM / DD / YYYY
            If you checked line 14a, do NOT fill out or file Form 122A-2.
            If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                          page 3
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Fill in this information to identify your case:                                                            Check the appropriate box as directed in
                                                                                                           lines 40 or 42:
Debtor 1           Howard Pena
                                                                                                               According to the calculations required by this
Debtor 2          Isled Pena                                                                                   Statement:
(Spouse, if filing)
                                                                                                                  1. There is no presumption of abuse.
United States Bankruptcy Court for the:        Middle District of Georgia
                                                                                                                  2. There is a presumption of abuse.
Case number        24-50893
(if known)

                                                                                                               Check if this is an amended filing
Official Form 122A - 2
Chapter 7 Means Test Calculation                                                                                                                         04/22

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

Part 1:       Determine Your Adjusted Income

1.   Copy your total current monthly income.                           Copy line 11 from Official Form 122A-1 here=>........       $             7,426.72

2.   Did you fill out Column B in Part 1 of Form 122A-1?
          No. Fill in $0 for the total on line 3.
          Yes. Is your spouse Filing with you?
            No.        Go to line 3.
            Yes.       Fill in $0 for the total on line 3.

3.   Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
     household expenses of you or your dependents. Follow these steps:

     On line 11, Column B of Form 122A–1, was any amount of the income you reported for your spouse NOT regularly used for the household
     expenses of you or your dependents?

          No. Fill in 0 for the total on line 3.
          Yes. Fill in the information below:

             State each purpose for which the income was used                                Fill in the amount you
             For example, the income is used to pay your spouse's tax debt or to             are subtracting from
             support other than you or your dependents.                                      your spouse's income

                                                                                         $

                                                                                         $

                                                                                         $

                   Total.                                                                $              0.00

                                                                                                                Copy total here=>...    -$              0.00


4.   Adjust your current monthly income. Subtract line 3 from line 1.                                                                  $       7,426.72




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Debtor 2     Isled Pena                                                                         Case number (if known)      24-50893


Part 2:          Calculate Your Deductions from Your Income

   The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
   to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
   instructions for this form. This information may also be available at the bankruptcy clerk's office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some
   of your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse's
   income in line 3 and do not deduct any operating expenses that you subtracted from in income in lines 5 and 6 of form 122A-1.

   If your expenses differ from month to month, enter the average expense.

   Whenever this part of the from refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.


   5.      The number of people used in determining your deductions from income

           Fill in the number of people who could be claimed as exemptions on your federal income tax return,
           plus the number of any additional dependents whom you support. This number may be different from                         2
           the number of people in your household.



   National Standards                 You must use the IRS National Standards to answer the questions in lines 6-7.



   6.      Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for food, clothing, and other items.                                                    $         1,411.00


   7.      Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
           the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
           people who are 65 or older--because older people have a higher IRS allowance for health care costs. If your actual expenses are
           higher than this IRS amount, you may deduct the additional amount on line 22.



   People who are under 65 years of age

           7a. Out-of-pocket health care allowance per person        $         83.00

           7b. Number of people who are under 65                     X          2

           7c. Subtotal. Multiply line 7a by line 7b.                $        166.00            Copy here=>        $           166.00


   People who are 65 years of age or older

           7d. Out-of-pocket health care allowance per person        $        158.00

           7e. Number of people who are 65 or older                  X          0

           7f.   Subtotal. Multiply line 7d by line 7e.              $           0.00           Copy here=>       +$             0.00


           7g. Total. Add lines 7c and 7f                                               $      166.00                    Copy total here=> $     166.00




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   Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.

   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:

        Housing and utilities - Insurance and operating expenses
        Housing and utilities - Mortgage or rent expenses

   To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

   To find the chart, go online using the link specified in the separate instructions for this form.
   This chart may also be available at the bankruptcy clerk's office.


   8.      Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5,
           fill in the dollar amount listed for your county for insurance and operating expenses. ...........................................       $                  750.00

   9.      Housing and utilities - Mortgage or rent expenses:

           9a. Using the number of people you entered in line 5, fill in the dollar amount
               listed for your county for mortgage or rent expenses...................................                           $       1,003.00

           9b. Total average monthly payment for all mortgages and other debts secured by your home.

                To calculate the total average monthly payment, add all amounts that are
                contractually due to each secured creditor in the 60 months after you file
                for bankruptcy. Then divide by 60.

                Name of the creditor                                              Average monthly
                                                                                  payment

                Cardinal Finance Co/Dovenmuehle Mtg                               $           2,453.06
                Internal Revenue Service                                          $             143.63
                Internal Revenue Service                                          $             399.51


                                                                                                                                                         Repeat this
                                                                                                              Copy                                       amount on
                                       Total average monthly payment              $           2,996.20        here=>        -$               2,996.20 line 33a.

           9c. Net mortgage or rent expense.

                Subtract line 9b (total average monthly payment) from line 9a (mortgage                                                         Copy
                or rent expense). If this amount is less than $0, enter $0. ........................             $                    0.00      here=>    $              0.00


   10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
       affects the calculation of your monthly expenses, fill in any additional amount you claim.                                                        $               0.00

            Explain why:

   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

              0. Go to line 14.

              1. Go to line 12.

              2 or more. Go to line 12.


   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                               $             260.00




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   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
       You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
       more than two vehicles.


    Vehicle 1         Describe Vehicle 1:
                                                2019 Mercedes-Benz GLC 300 33000 miles

   13a. Ownership or leasing costs using IRS Local Standard..........................................               $             619.00

   13b. Average monthly payment for all debts secured by Vehicle 1.
           Do not include costs for leased vehicles.

           To calculate the average monthly payment here and on line 13e, add all amounts that
           are contractually due to each secured creditor in the 60 months after you filed for
           bankruptcy. Then divide by 60.

                Name of each creditor for Vehicle 1                              Average monthly
                                                                                 payment

                Bridgecrest Acceptance Corp                                      $             535.20

                                                                                                                                                 Repeat this
                                                                                                               Copy                              amount on
                                       Total Average Monthly Payment             $             535.20          here =>       -$       535.20 line 33b.


   13c. Net Vehicle 1 ownership or lease expense                                                                                            Copy net
                                                                                                                                            Vehicle 1
           Subtract line 13b from line 13a. if this amount is less than $0, enter $0.                                                       expense
                                                                                                                    $              83.80    here => $           83.80



    Vehicle 2         Describe Vehicle 2:


   13d. Ownership or leasing costs using IRS Local Standard...................................................      $               0.00

   13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
        leased vehicles.

                Name of each creditor for Vehicle 2                              Average monthly
                                                                                 payment

                                                                                 $

                                                                                                               Copy                           Repeat this
                                                                                                               here                           amount on
                                       Total Average Monthly Payment             $                                                     0.00 line 33c.
                                                                                                               =>       -$


   13f. Net Vehicle 2 ownership or lease expense                                                                                            Copy net
                                                                                                                                            Vehicle 2
           Subtract line 13e from line 13d. if this amount is less than $0, enter $0. ......................                                expense
                                                                                                                    $               0.00    here => $            0.00


   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
       Transportation expense allowance regardless of whether you use public transportation.                                                             $       0.00

   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
       also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
       not claim more than the IRS Local Standard for Public Transportation.                                                                             $       0.00




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   Other Necessary Expenses             In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                        the following IRS categories.

   16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,
       self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld
       from your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by
       12 and subtract that number from the total monthly amount that is withheld to pay for taxes.
           Do not include real estate, sales, or use taxes.                                                                             $      823.05

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
       contributions, union dues, and uniform costs.
           Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.         $         0.00

   18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
       filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for
       life insurance on your dependents, for a non-filing spouse's life insurance, or for any form of life insurance other than
       term.                                                                                                                            $         0.00

   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
       administrative agency, such as spousal or child support payments.
           Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.    $         0.00

   20. Education: The total monthly amount that you pay for education that is either required:
              as a condition for your job, or
              for your physically or mentally challenged dependent child if no public education is available for similar services.      $         0.00

   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and
       preschool.
           Do not include payments for any elementary or secondary school education.                                                    $         0.00

   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
       that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
       by a health savings account. Include only the amount that is more than the total entered in line 7.
           Payments for health insurance or health savings accounts should be listed only in line 25.                                   $         0.00

   23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication
       services for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or
       business cell phone service, to the extent necessary for your health and welfare or that of your dependents or for the
       production of income, if it is not reimbursed by your employer.
           Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
           expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.                  +$         0.00



   24. Add all of the expenses allowed under the IRS expense allowances.                                                               $    3,493.85
       Add lines 6 through 23.




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   Additional Expense Deductions            These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.

   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
       your dependents.
           Health insurance                                          $        303.33
           Disability insurance                                      $           0.00
           Health savings account                                  +$            0.00


           Total                                                     $         303.33       Copy total here=>                       $      303.33


           Do you actually spend this total amount?

                   No. How much do you actually spend?
                   Yes                                               $
   26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member
       of your household or member of your immediate family who is unable to pay for such expenses. These expenses
       may include contributions to an account of a qualified ABLE program. 26 U.S.C.§ 529A(b).                                      $       0.00
   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
       safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

           By law, the court must keep the nature of these expenses confidential.                                                    $       0.00
   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
       line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in expenses on
       line 8, then fill in the excess amount of home energy costs.
       You must give your case trustee documentation of your actual expenses, and you must show that the additional
       amount claimed is reasonable and necessary.                                                                                   $       0.00
   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
       $189.58* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
       public elementary or secondary school.
       You must give your case trustee documentation of your actual expenses, and you must explain why the amount
       claimed is reasonable and necessary and not already accounted for in lines 6-23.

           * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.      $       0.00
   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
       higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
       than 5% of the food and clothing allowances in the IRS National Standards.
       To find a chart showing the maximum additional allowance, go online using the link specified in the separate
       instructions for this form. This chart may also be available at the bankruptcy clerk's office.
       You must show that the additional amount claimed is reasonable and necessary.                                                 $       0.00
   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
       instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).                                            +$       0.00


   32. Add all of the additional expense deductions.                                                                                $    303.33
       Add lines 25 through 31.




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   Deductions for Debt Payment

   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.

            Mortgages on your home:                                                                                                        Average monthly
                                                                                                                                           payment
   33a.     Copy line 9b here                                                                                                        =>    $        2,996.20
            Loans on your first two vehicles:
   33b.     Copy line 13b here                                                                                                       =>    $          535.20
   33c.     Copy line 13e here                                                                                                       =>    $             0.00
   33d.     List other secured debts:
   Name of each creditor for other secured debt          Identify property that secures the debt                    Does payment
                                                                                                                    include taxes or
                                                                                                                    insurance?


                                                         2022 CForce 800 XC Moto Side by Side                                 No
           Sheffield Financial                           Off Road Utility Vehicle                                             Yes          $          178.63

                                                                                                                              No
                                                                                                                              Yes          $

                                                                                                                              No
                                                                                                                              Yes         +$


                                                                                                                                       Copy
                                                                                                                                       total
   33e. Total average monthly payment. Add lines 33a through 33d                                         $           3,710.03          here=>   $     3,710.03

   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?

            No. Go to line 35.
            Yes. State any amount that you must pay to a creditor, in addition to the payments
                 listed in line 33, to keep possession of your property (called the cure amount).
                 Next, divide by 60 and fill in the information below.

    Name of the creditor                             Identify property that secures the debt                     Total cure                     Monthly cure
                                                                                                                 amount                         amount

    -NONE-                                                                                                   $                       ÷ 60 = $


                                                                                                                                       Copy
                                                                                                                                       total
                                                                                                   Total $                    0.00     here=>   $              0.00


   35. Do you owe any priority claims such as a priority tax, child support, or alimony - that
       are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
            No.   Go to line 36.
            Yes. Fill in the total amount of all of these priority claims. Do not include current or
                 ongoing priority claims, such as those you listed in line 19.
                    Total amount of all past-due priority claims                                         $           7,727.00 ÷ 60 = $                    128.78




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   36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
       For more information, go online using the link for Bankruptcy Basics specified in the separate
       instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

             No. Go to line 37.
             Yes. Fill in the following information.
                    Projected monthly plan payment if you were filing under Chapter 13                        $
                    Current multiplier for your district as stated on the list issued by the
                    Administrative Office of the United States Courts (for districts in Alabama
                    and North Carolina) or by the Executive Office for United States Trustees
                    (for all other districts).                                                               X


                    To find a list of district multipliers that includes your district, go online using
                    the link specified in the separate instructions for this form. This list may also
                    be available at the bankruptcy clerk’s office.
                                                                                                                                            Copy total
                    Average monthly administrative expense if you were filing under Chapter 13                    $                         here=> $




   37. Add all of the deductions for debt payment.                                                                                                       $    3,838.81
       Add lines 33e through 36.

   Total Deductions from Income

   38. Add all of the allowed deductions.
           Copy line 24, All of the expenses allowed under IRS
           expense allowances                                                      $           3,493.85
           Copy line 32, All of the additional expense deductions                  $              303.33
           Copy line 37, All of the deductions for debt payment                  +$            3,838.81


                                                          Total deductions         $           7,635.99               Copy total here...........=>       $      7,635.99


Part 3:        Determine Whether There is a Presumption of Abuse

   39. Calculate monthly disposable income for 60 months
           39a. Copy line 4, adjusted current monthly income                       $           7,426.72
           39b. Copy line 38,Total deductions                                    -$            7,635.99

           39c. Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                     Copy
                Subtract line 39b from line 39a                                    $              -209.27             here=>$                    -209.27


           For the next 60 months (5 years)                                                                                          x 60

                                                                                                                                    Copy
           39d. Total. Multiply line 39c by 60                                         39d.   $              -12,556.20             here=>           $       -12,556.20

   40. Find out whether there is a presumption of abuse. Check the box that applies:

             The line 39d is less than $9,075*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to Part 5.

             The line 39d is more than $15,150*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You may fill out
             Part 4 if you claim special circumstances. Go to Part 5.

             The line 39d is at least $9,075*, but not more than $15,150*. Go to line 41.

       *Subject to adjustment on 4/01/25, and every 3 years after that for cases filed on or after the date of adjustment.




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   41.       41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out
                  A Summary of Your Assets and Liabilities and Certain Statistical Information
                  Schedules (Official Form 106Sum), you may refer to line 3b on that form.                                           $
                                                                                                                                         x      .25
                                                                                                                                                           Copy
             41b. 25% or your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I)                                       $                     here=>   $
                    Multiply line 41a by 0.25.....................................................................................

   42. Determine whether the income you have left over after subtracting all allowed deductions is enough to pay
       25% of your unsecured, nonpriority debt.
       Check the box that applies:

             Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

             Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2. There is a
             presumption of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


Part 4:        Give Details About Special Circumstances

43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
    reasonable alternative? 11 U.S.C. § 707(b)(2)(B).


           No. Go to Part 5.

           Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment for
                each item. You may include expenses you listed in line 25.

                You must give a detailed explanation of the special circumstances that make the expenses or income adjustments
                necessary and reasonable. You must also give your case trustee documentation of your actual expenses or income
                adjustments.



                 Give a detailed explanation of the special circumstances                                                     Average monthly expense
                                                                                                                              or income adjustment

                                                                                                                                 $

                                                                                                                                 $

                                                                                                                                 $

                                                                                                                                 $


Part 5:        Sign Below
             By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

            X /s/ Howard Pena                                                                            X /s/ Isled Pena
                Howard Pena                                                                                   Isled Pena
                Signature of Debtor 1                                                                         Signature of Debtor 2
         Date July 23, 2024                                                                          Date July 23, 2024
              MM / DD / YYYY                                                                              MM / DD / YYYY




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                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 12/01/2023 to 05/31/2024.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Baldwin County Board of Commissioners
Year-to-Date Income:
Last Year:
Starting Year-to-Date Income: $25,790.82 from check dated 11/30/2023 .
Ending Year-to-Date Income: $30,160.60 from check dated 12/31/2023 .

This Year:
Current Year-to-Date Income: $24,109.62 from check dated        5/31/2024    .

Income for six-month period (Current+(Ending-Starting)): $28,479.40 .
Average Monthly Income: $4,746.57 .




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                             Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 12/01/2023 to 05/31/2024.

Line 5 - Income from operation of a business, profession, or farm
Source of Income: Isled Pena
Income/Expense/Net by Month:
                          Date                         Income                          Expense                           Net
 6 Months Ago:                  12/2023                      $1,995.00                            $950.00                      $1,045.00
 5 Months Ago:                  01/2024                      $3,540.00                            $950.00                      $2,590.00
 4 Months Ago:                  02/2024                      $3,780.00                            $950.00                      $2,830.00
 3 Months Ago:                  03/2024                      $2,500.00                            $950.00                      $1,550.00
 2 Months Ago:                  04/2024                      $7,465.88                            $950.00                      $6,515.88
 Last Month:                    05/2024                      $2,500.00                            $950.00                      $1,550.00
                      Average per month:                     $3,630.15                            $950.00
                                                                           Average Monthly NET Income:                         $2,680.15




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                         UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION


                    DECLARATION UNDER PENALTY OF PERJURY

        I, Howard Pena and I, Isled Pena, being of legal age do hereby verify and state that all of
the information set forth in the foregoing amendment/pleading is true and correct to the best of
my knowledge, information and belief.

       This 23rd day of July , 2024.


                                                     /s/ Howard Pena
                                                     HOWARD PENA


                                                     /s/ Isled Pena
                                                     ISLED PENA
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                               CERTIFICATE OF SERVICE

       I do hereby certify that I have this day served the within and foregoing Amendment To
Schedules, Summary Of Schedules, And Statistical Summary by depositing same in the United
States mail, properly addressed as follows:

                                       Walter W. Kelley
                                       Chapter 7 Trustee
                                        P.O. Box 70879
                                       Albany, GA 31708

                                        Howard Pena
                                         Isled Pena
                                   251 Pettigrew Rd, NW
                                  Milledgeville, GA 31061

                          All parties on the attached mailing matrix.

       This 23rd day of July , 2024.

                                             Respectfully Submitted by,
                                             BURROW & ASSOCIATES, LLC

                                             /s/ Michael F. Burrow
                                             Michael F. Burrow
                                             Attorney for the Debtors
                                             Georgia Bar No. 317998
                                             2280 Satellite Blvd.
                                             Bldg. A, Suite 100
                                             Duluth, Georgia 30097
                                             (678) 942-8640
                                             bankruptcy@legalatlanta.com
              Case 24-50893-RMM    Doc 12 Filed 07/23/24 Entered 07/23/24 14:03:59               Desc Main
Label Matrix for local noticing        Bridgecrest
                                          Document Credit Company,
                                                             PageLLC32as of
                                                                          Agent
                                                                            33 and 5
113G-5                                 4515 N Santa Fe Ave. Dept. APS             433 Cherry Street
Case 24-50893-RMM                      Oklahoma City, OK 73118-7901               P.O. Box 1957
Middle District of Georgia                                                        Macon, GA 31202-1957
Macon
Tue Jul 23 11:46:57 EDT 2024
Aldridge Pite Hann, LLP                Ally Financial, Inc                        Amazon
Attn: Sana A. Cheema                   Attn: Bankruptcy                           202 Westlake Avenue
P. O. Box 7389                         500 Woodard Ave                            Seattle, WA 98109-5264
Marietta, GA 30065-1389                Detroit, MI 48226-3416


Bridgecrest Acceptance Corp            Bridgecrest Credit Company, LLC as Agent   Capital One
7300 East Hampton Avenue               AIS Portfolio Services, LLC                Attn: Bankruptcy
Suite 100                              4515 N Santa Fe Ave. Dept. APS             Po Box 30285
Mesa, AZ 85209-3324                    Oklahoma City, OK 73118-7901               Salt Lake City, UT 84130-0285


(p)DOVENMUEHLE MORTGAGE                Cardinal Financial Company                 Cardinal Financial Company, Limited Partners
1 CORPORATE DRIVE SUITE 360            1 Corporate Drive                          c/o Aldridge Pite, LLP
LAKE ZURICH IL 60047-8945              Suite 360                                  Six Piedmont Center
                                       Milledgeville, GA 31061                    3525 Piedmont Road, N.E., Suite 700
                                                                                  Atlanta, GA 30305-1608

(p)JPMORGAN CHASE BANK N A             Coliseum Northside Hospital                Concora Credit / Destiny Card
BANKRUPTCY MAIL INTAKE TEAM            400 Charter Blvd                           P. O. Box 23030
700 KANSAS LANE FLOOR 01               Macon, GA 31210-4853                       Columbus, GA 31902-3030
MONROE LA 71203-4774


Credit One Bank                        Genesis FS Card Services                   George Martinez MD
Attn: Bankruptcy Department            Attn: Bankruptcy                           PO Box 1415
6801 Cimarron Rd                       Po Box 4477                                Milledgeville, GA 31059-1415
Las Vegas, NV 89113-2273               Beaverton, OR 97076-4401


(p)GEORGIA DEPARTMENT OF REVENUE       Internal Revenue Service                   Internal Revenue Service
COMPLIANCE DIVISION                    401 W. Peachtree Street, NW                P.O. Box 7346
ARCS BANKRUPTCY                        Stop 334-D, Room 400                       Philadelphia, PA 19101-7346
1800 CENTURY BLVD NE SUITE 9100        Atlanta, GA 30308
ATLANTA GA 30345-3202

Jefferson Capital Systems, LLC         LendingPoint LLC.                          MIDFLORIDA Credit Union
Attn: Bankruptcy                       Attn: Bankruptcy                           Attn: Bankruptcy
200 14th Ave E                         1201 Roberts Blvd Suite 200                Po Box 8008
Sartell, MN 56377-4500                 Kennesaw, GA 30144-3612                    Lakeland, FL 33802-8008


(p)MCCARTHY BURGESS & WOLFF            Midland Credit Management                  Midland Credit Management, Inc
26000 CANNON RD                        AAO Comenity Bank                          AAO Comenity Bank
CLEVELAND OH 44146-1807                350 Camino de la Reina                     Po Box 939069
                                       Suite 300                                  San Diego, CA 92193-9069
                                       Atlanta, GA 30308

Northside Hospital                     Redfin Corporation                         Sheffield Financial
1000 Johnson Ferry Rd                  Attention: Partner Program                 Attn: Bankruptcy
Atlanta, GA 30342-1611                 1099 Stewart Street, Suite 600             214 N Tryon St
                                       Seattle, WA 98101-2161                     Charlotte, NC 28202-1078
              Case 24-50893-RMM                 Doc 12 Filed 07/23/24 Entered 07/23/24 14:03:59 Desc Main
Stellantis Financial Srvs                           Synchrony Bank/Care Credit
                                                       Document           Page 33 of 33 Synchrony Bank/TJX
Attn: Bankruptcy                                     Attn: Bankruptcy                                     Attn: Bankruptcy
3065 Akers Mill Rd Se, Ste 700                       Po Box 965060                                        Po Box 965060
Atlanta, GA 30339-3124                               Orlando, FL 32896-5060                               Orlando, FL 32896-5060


U.S. Trustee - MAC                                   (p)US DEPARTMENT OF HOUSING AND URBAN DEVELOP        Utility Selfreported
440 Martin Luther King Jr. Boulevard                 ATTN ROBERT ZAYAC                                    Po Box 4500
Suite 302                                            40 MARIETTA ST SUITE 300                             Allen, TX 75013-1311
Macon, GA 31201-7987                                 ATLANTA GA 30303-2812


Howard Pena                                          Isled Pena                                           Michael F. Burrow
251 Pettigrew Rd, NW                                 251 Pettigrew Rd, NW                                 Burrow & Associates, LLC
Milledgeville, GA 31061-9792                         Milledgeville, GA 31061-9792                         2280 Satellite Boulevard
                                                                                                          Bldg. A, Suite 100
                                                                                                          Duluth, GA 30097-5000

Walter W Kelley
Chapter 7 Trustee
P.O. Box 70879
Albany, GA 31708-0879




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Cardinal Finance Co/Dovenmuehle Mtg                  Chase Card Services                                  Georgia Department of Revenue
Attn: Bankruptcy                                     Attn: Bankruptcy                                     Compliance Division
1 Corporate Dr. Ste 360                              P.O. 15298                                           ARCS Bankruptcy
Lake Zurich, IL 60047                                Wilmington, DE 19850                                 1800 Century Blvd. NE, Suite 9100
                                                                                                          Atlanta, GA 30345-3202

McCarthy, Burgess & Wolff                            United States Department of Housing
26000 Cannon Road                                    & Urban Development
Cleveland, OH 44146                                  451 7th Street, S.W.
                                                     Washington, DC 20410




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Cardinal Financial Company, Limited Partne        End of Label Matrix
                                                     Mailable recipients      39
                                                     Bypassed recipients       1
                                                     Total                    40
